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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )                      4:14CR00152-4 JLH
                                            )
AMBER DAWN EARNEST                          )



                                            ORDER

       On August 18, 2014, the Court entered an Order Setting Conditions of Release. That

Order is hereby amended to add the following condition: the defendant is directed to submit to

mental health counseling.

       IT IS SO ORDERED this 26 day of September, 2014.




                                                UNITED STATES MAGISTRATE JUDGE
